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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.         CV 18-10188 AG                                           Date   January 3, 2019
 Title            IN RE: STEVEN MARK ROSENBERG




 Present: The                  ANDREW J. GUILFORD
 Honorable
                Lisa Bredahl                         None Present
                Deputy Clerk                   Court Reporter / Recorder                Tape No.
           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                       Not Present                                     Not Present
 Proceedings:              [IN CHAMBERS] ORDER TO SHOW CAUSE


On December 7, 2018, debtor Steven Mark Rosenberg filed a notice of appeal from the June 7,
2018 Order of Bankruptcy Judge Victoria S. Kaufman. The Court issues an Order to Show
Cause why this case should not be dismissed because the notice of appeal was untimely. All
briefing must be filed by January 18, 2019. The Court will set a hearing if necessary.


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                                                         Initials of
                                                         Preparer             lmb




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